  Case: 2:19-cr-00067-ALM Doc #: 31 Filed: 02/14/20 Page: 1 of 4 PAGEID #: 268



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

UNITED STATES OF AMERICA,
                                                      Case No. 2:19-cr-67
               Plaintiff,

       V.                                             Chief Judge Algenon L. Marbiey

ROGER DALE ANDERSON,

               Defendant.



                                             ORDER


       This matter is before the Court on Defendant Roger Dale Anderson's Motion in Limine

to prohibit the Government from introducing evidence regarding the Defendant's sexual activity.

(EOF No. 17). For the reasons outlined below, this Court GRANTS Defendant's motion.

                                      I.      BACKGROUND


       Defendant Roger Dale Anderson was indicted by a grand jury on March 21, 2019. (EOF

No. 13 at 2). He was charged in Count One with Conspiracyto Dispense and DistributeControlled

Substances in violation of 21 U.S.C. § 846, in Cotmts Two through Ten with illegal dispensing of

Schedule II Controlled Substances in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C), in Count

Eleven with Conspiracy to Commit Health Care Fraud in violation of 18 U.S.C. § 1349, and in

Count Twelve with Health Care Fraud in violation of 18 U.S.C. § 1347. {Id.). Anderson entered

pleas of not guilty and is scheduled to stand trial beginningon February 24,2020.

       The Governmentintends to introduce evidence regarding Anderson's alleged medically

unnecessary physical examinations of patients' groin areas during patientvisits. (ECF No. 23 at

3-4). On December 17,2019, Anderson filed a Motion in Limine to exclude evidence regarding

his sexual activity with patients on the grounds that it is irrelevant under Rule401, or in the

                                                  1
   Case: 2:19-cr-00067-ALM Doc #: 31 Filed: 02/14/20 Page: 2 of 4 PAGEID #: 269



alternative, that its probative value is substantially outweighed by the risk of prejudice under

Rule 403. (ECF No. 17). The Government filed a Response in Opposition on January 31, 2020.

(EOF No. 23).

                                    II.     LEGAL STANDARD


       In order for the Government to introduce evidence at trial, the evidence must meet the

relevancy requirement of Federal Rule of Evidence 401. Rule 401 states evidence is relevant if:

"(a) it has any tendency to make a fact more or less probable than it would be without the

evidence; and (b) the fact is of consequence in determining the action." Fed. R. Evid. 401. Even

ifevidence is relevant, it may still be excluded under Rule 403 "if its probative value is

substantially outweighed by a danger of one or more of the following: unfair prejudice,

confusing the issues, misleading the jury, undue delay, wasting time, or needlessly presenting

cumulative evidence." Fed. R. Evid. 403.

                                     III.    LAW & ANALYSIS


       Anderson first argues that evidence regarding his sexual activity with patients is not

relevant to whether he illegally dispense and distributed controlled substances. (ECF No. 17 at

2-3). In the altemative, Anderson argues that, even ifrelevant, the evidence should be excluded

imder Rule 403 because the danger of unfair prejudice substantially outweighs its probative

value. {Id. at 3). He contends that there is a "substantial likelihood...that evidence of

Defendant's purported sexual activity would cause imfair prejudice, mislead the jury, or confuse

the issues of this case." {Id.). In its Response in Opposition, the Govemment argues that "the

nature ofthe physical examinations Anderson performed on patients during office visits,

including examinations of the groin area... has a direct connection to Anderson's prescribing

practices." (ECF No. 23 at 2-3). The Govemment argues this evidence is "highly probative of
   Case: 2:19-cr-00067-ALM Doc #: 31 Filed: 02/14/20 Page: 3 of 4 PAGEID #: 270



whether [Anderson] acted outside the course of usual professional practice and without a

legitimate purpose." {Id. at 4).

        This Courtconcludes that, evenif evidence of Anderson's sexual activity with patients'

during medical examinations could be relevant, it should be excluded under Rule 403 because of

the substantialrisk of unfair prejudice. The issue in this case is whether Anderson illegally

dispensed and distributed controlled substances. That is what the Government bears the burden

ofproving in this case, not a general pattern of acting outside the scope of professional practice

or without a legitimate medical purpose. When courts have admitted evidence regarding

illegitimate medical practices, those practices have much more closely tied to the conviction. See

United States v. Chaney, 921 F.3d 572,591 (6th Cir. 2019) (admitting evidence ofbilling for

unnecessary urine screenings as probative ofhealthcare fraud); United States v. Leal, 75 F.3d

219,222 (6th Cir. 1996) (perfunctory nature of physical examinations supported finding of lack

of legitimate medical purpose for drug prescriptions).

         The Government has not shown how Anderson's purported examinations of patients'

groin areas is probative ofhis purported illegal distribution of controlled substances. Even if the

evidence has slight probative value, its risk of prejudice is too great. Evidence of Anderson's

alleged medically unnecessary examinations ofpatients' genitalia contains a high risk of

prejudice and confusion for the jury, and provides little, if any, probative value to the central

issue of the medical necessity of Anderson's prescriptions.




' This Court rejects the Government's attempt to argue that "the evidence does not involve sexual contact." (EOF
No. 23 at 5). Even so, this argumentis inapposite,as evidence of Anderson's alleged unnecessaryphysical
examinations of patients' groin areas is prejudicial, regardless of whether the Government disputes that it is sexual.

                                                           3
  Case: 2:19-cr-00067-ALM Doc #: 31 Filed: 02/14/20 Page: 4 of 4 PAGEID #: 271



                                      IV.    CONCLUSION


       For the foregoing reasons, this Court GRANTS Defendant's Motion in Limine (ECF No.

17) to prohibit the Government from introducing evidence regarding Defendant's sexual activity,

including his alleged physical examinationsof patients' groin areas.



       IT IS SO ORDERED.
                                               s/Algenon L. Marblev
                                            ALGENON L. MARBLEY
                                            CHIEF UNITED STATES DISTRICT JUDGE


Dated: February 14,2020
